      Case 2:22-cr-00387-DSF          Document 85         Filed 03/03/25      Page 1 of 1 Page ID #:502

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                 CRIMINAL MINUTES – SUPERVISED RELEASE




  Case No.      CR 22-00387-DSF-1                                                     Date     March 3, 2025


  Present: The Honorable         DALE S. FISCHER, UNITED STATES DISTRICT JUDGE
  Interpreter     N/A
              Estella Orozco                    Debbie Hino-Spaan                            Joshua J. Lee
                Deputy Clerk                     Court Reporter                       Assistant U.S. Attorney


       U.S.A. v. Defendant(s):        Present   Custody   S/R       Attorney(s) for Defendant(s):     Present App. Ret.

   Kiernan Major                        √                  √      Nikki Herst-Cook, DFPD                 √        √


                     PRELIMINARY REVOCATION OF SUPERVISED RELEASE - SENTENCING (Non-
  Proceedings:       Evidentiary - Held and Completed)

The matter is called and counsel state their appearances. Also present is Carlos Reyes, USPO.
The Court and counsel confer. The defendant is sworn and the defendant admits allegations 1
and 2, as set forth in the Petition on Probation and Supervised Release, filed February 20, 2025.

The Court questions the defendant regarding his waiver of his right to a revocation hearing and
his admissions of having violated the terms and conditions of his supervised release. The Court
finds that defendant entered his admissions freely and voluntarily, with a full understanding of
the allegations against him and the consequences of his admissions. The Court also finds that
the defendant understands his rights and wishes to waive them and that the defendant is in
violation of the terms and conditions of his supervised release. The Court orders the admissions
accepted and entered.

At defense counsel’s request, the Court proceeds to immediate sentencing. The Court hears from
counsel, government, and probation prior to the imposition of sentence. The Court imposes
sentence.

See Order on Supervised Release for specific information.




                                                  CRIMINAL MINUTES -                                                   ____ : 10
Page 1 of 1
                                                SUPERVISED RELEASE                                  Initials of Deputy Clerk: eo
